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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

  IN RE:

  KRISJENN, RANCH, LLC, et al.,                          Bankruptcy Case No. 20-05027-RBK

        Debtors.
  ____________________________________

  DMA PROPERTIES, INC., et al.,

         Appellants,

  v.                                                        Case No. SA-21-CV-0358-JKP

  KRISJENN RANCH, LLC,                                        (Appeal from Opinion in
  et al.,                                                Bankruptcy Case No. 20-05027-RBK)

         Appellees.

                                ORDER CONSOLIDATING CASES

         Before the Court are two motions: (1) Unopposed Motion to Consolidate Bankruptcy Ap-

  peals (ECF No. 16) and Appellant’s Unopposed Motion for Extension of Time to File Appellant’s

  Brief (ECF No. 18). The first motion seeks to consolidate this bankruptcy appeal with appeals at

  issue in Case Nos. 5:21-CV-0359-JKP and 5:21-CV-0775-JKP because all appeals are from a final

  judgment entered in a single adversary proceeding following a bench trial before the Bankruptcy

  Court. The latter motion seeks to extend a deadline in this case, at least in part due to the potential

  consolidation of the three appeals. Based on these filings, the Court issues the following Orders:

         (1) The Court GRANTS the Unopposed Motion to Consolidate Bankruptcy Appeals (ECF

  No. 16). The Court hereby consolidates Case No. 5:21-CV-0358-JKP, Case No. 5:21-CV-0359-

  JKP, and Case No. 5:21-CV-0775-JKP for all purposes and designates this case (Case No. 5:21-
20-05027-rbk
          Case
             Doc#280
               5:21-cv-00358-JKP
                      Filed 09/20/21Document
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  CV-0358-JKP) as the lead case. Henceforth all three cases will proceed under Case No. 5:21-CV-

  00358-JKP and all future filings by the parties shall be made under that case number.

         (2) The Court vacates all current deadlines in this case and thus FINDS MOOT Appel-

  lant’s Unopposed Motion for Extension of Time to File Appellant’s Brief (ECF No. 18). Once

  consolidation is complete, the Court will issue a single, unified briefing schedule that will control

  for all consolidated cases.

         (3) Presently, for this case, the Bankruptcy Record on Appeal (“ROA”) is found at ECF

  Nos. 4 and 15. The ROA for Case No. 5:21-CV-0359-JKP is found at ECF No. 12 in that case.

  Similarly, the Appellant in Case No. 5:21-CV-0359-JKP has filed a Statement of Issues (ECF No.

  13) in that case. The Clerk of Court shall make that ROA and the Statement of Issues available

  in this lead case.

         IT IS SO ORDERED this 17th day of September 2021.




                                                JASON PULLIAM
                                                UNITED STATES DISTRICT JUDGE




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